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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

JOSEPH F. BEHOUNEK,

                Plaintiff,

v.                                                                    1:20-cv-00405-JCH-LF

MICHELLE LUJAN GRISHAM, et al.,

                Defendants.

                   ORDER ADOPTING MAGISTRATE JUDGE’S
              PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

        The Magistrate Judge filed her Proposed Findings and Recommended Disposition on

September 28, 2020. Doc. 46. The proposed findings notified the parties of their ability to file

objections within fourteen (14) days and that failure to do so waived appellate review. To date,

the parties have not filed any objections and there is nothing in the record indicating that the

proposed findings were not delivered.

        Wherefore,

        IT IS HEREBY ORDERED AS FOLLOWS:

     1. The Magistrate Judge’s Proposed Findings and Recommended Disposition (Doc. 46) is
        ADOPTED;

     2. Mr. Behounek’s Motion for Court Clerk’s Entry of Default (Doc. 19) is GRANTED;

     3. The clerk’s entry of default is set aside pursuant to Federal Rule of Civil Procedure 55(c);
        and

     4. Mr. Behounek’s Motion for Default Judgment (Doc. 22) is DENIED.



                                                  _______________________________________
                                                  SENIOR UNITED STATES DISTRICT JUDGE
